 

neers

 

  
    
  
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 3:16-cv-02936
- -N- Docu
: . Rabi SFRicr GeuURT
\ NORTHERN DISTRICT OF TQTgH16 |Page 1 of 17 Pagelb 4
TE gs FILED
. Y Page 2
@ DE, OR CORRECT
JSTODY
d TOE COL ier.
United States District Cpurt By Tinted
6 Disue pur By culty nerther district of te Ke 5S
Name (under which you were convic Docket or Case No.:
Denay Bol sos 3714-¢ B-00 4G ON
Place of Confinement: Prisoner No.:
Fol métienns 6542 4eS4
UNITED STATES OF AMERICA Movant Gnclude name under which you were convicted)
v. Danay Ale xX:s Berges

MOTION

1. (a) Name and location of court that entered the judgment of conviction you are challenging:
” ; . . 2 hae i ~

gearle cu bell be devel b.wt td tny ca
ut co ¢ om n Erle St. ; ron 4 gm

   

De iteh, FX Peete

(b) Criminal docket or case number (if you know): Rid eR ee 4bE-N

2. (a) Date of the judgment of conviction (if you know): jnly + 4, bei ss”

@ (b) Date of sentencing: october 71 pols”
Length of sentence: |>o months
Nature of crime (all counts):

ig nse, § teed (6) qi)
ab. se ot chil

end (O(5) ~ceper of eo Fen€ & eunel representertcens @
atrcrr
. te

fing Sete E1 . 4
, . say p ey pad oe ok
ly 5.¢ supee 4 (BICi). Sad caress Pas FeSs er

ine . ‘ "

5. (a) What was your plea? (Check one)
) Guilty &

(1) Not guilty Q (2
e count or indictment, and a not guilty plea to another count

(3) Nolo contendere (no contest) O

(b) If you entered a guilty plea to on
or indictment, what did you plead guilty to and what did you plead not guilty to?
pled te Wo ase f§ iggeterei)

per gees ity “ree idjv

6. If you went to trial, what kind of trial did you have? (Check one) Jury 0 Judge only 0

 
4
e

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page2of17 PagelD5

‘

Page 3

7. Did you testify at a pretrial hearing, trial, or post-trial hearing? Yes 0 No &
8. Did you appeal from the judgment of conviction? Yes O No we
9. Ifyou did appeal, answer the following: .

(a) Name of court:

(b) Docket or case number (if you know):

(c) Result:

(d) Date of result (if you know):

(e) Citation to the case (if you know):

() Grounds raised:

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes Q No ot
If “Yes,” answer the following:

(1) Docket or case number (if you know):

(2) Result:

(3) Date of result (if you know):
(4) Citation to the case (if you know):

(5) Grounds raised:

10. Other than the direct appeals listed above, have you previously filed any other motions,
petitions, or applications concerning this judgment of conviction in any court?
Yes Q No @
11. If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court: ,
(2) Docket or case number (if you know):

(3) Date of filing (if you know):

 
Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page 30f17 PagelD 6
Page 4
(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or
application? Yes QO No
(7) Result:
(8) Date of result (if you know):
(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:
(2) Docket or case number (if you know):
(3) Date of filing (if you know): ©
(4) Nature of the proceeding:

(5) Grounds raised:

(6) Did you receive a hearing where evidence was given on your motion, petition, or

application? Yes Q No @

(7) Result:

(8) Date of result (if you know):
(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your
motion, petition, or application?

(1) First petition: Yes Q No G

(2) Second petition: Yes Q No

 
 

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page4of17 PagelD7

‘

Page 5

(d) If you did not appeal from the action on any motion, petition, or application, explain briefly

why you did not:

12. For this motion, state every ground on which you claim that you are being held in violation of the
Constitution, laws, or treaties of the United States. Attach additional pages if you have more

than four grounds. State the facts supporting each ground.

 

GROUND ONE:

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
The ton cn Quese ter +3 tersderal ark, pet cbhene, Thee &re Pitees Aw Aivleums thot Gre
Corgdeal “arr ; bit Goa be Clasg-terd Qs obse eid, it, The E eriey ot Sp Teese, whieh;
depicts « Famde whe eippeces Fe be nthe thie et Scrub intepecsse, The Sistine Chapel
13 Gaorher Cyenpic whith ¢ epzts Chid-bke eagls nude, inthe Perting , Tha prece 13 cucteatly
on eldplay (0 The Verena. Actevclay yo leas, th 1S Gas deal gisenc.

(b) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes Q No @

(2) If you did not raise this issue in your direct appeal, explain why:

FectS wt’ wet knew dar ag Flee Sreype

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes OQ No &
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

 
 

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page5of17 PagelD8

Page 6
© , Docket or case number (if you know):
Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):
(3) Did you receive a hearing on your motion, petition, or application?
YesQ NoQ
(4) Did you appeal from the denial of your motion, petition, or application?
Yes Q NoQ
(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes Q NoQ
(6) If your answer to Question (c)(4) is “Yes,” state:
Name and location of the court where the appeal was filed:
Docket or case number (if you know):
Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):
; (7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND TWO: necessity

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
srt ennseuernnen Chasm thn Qt mdb CE OS 4,"
ET RETEST TN EET IO aS ig er an Pa pend ye porte — Pasig, TS

  

 

     
  

 

ting dew bee Da ee) PE SSE SS 00 ee Sete Ee OT eS force a _ ote
ni rn Speen ae ee . : 3 se =~,
held tig iiteeean eer dS : -
ery ,

 

z Py SOL hee: . / otf tb iP ere pe

Girt whem The only Weesen ZL hed

My hectrR cad we bevy, Fo had been ray d 2 AEM ber OF tin ef PXSoer de
fe €ety

4tiu¢e e afeoe £ c Pleage dy thre ian anv: duel]

Shower aembef neces Oty te Prepece

es ~s rs oe sergio :
whem erred Sed hence i fF.
DN, A,
— QS e weledive ge pre oSSad there (5s g Witness idtatified mee.
$ ho my lawyer p whe hes jJmpertent infermetdron Seger “is my

Cese, Stlévent de my cease,

 
 

 

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page6éof17 PagelD9

Page 7

(b) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes Q No &

(2) If you did not raise this issue in your direct appeal, explain why: |
tvidente wes fecently discovered had Come eet os ppt
dhe ClAcmHS PAesEe TH Sreends Awe s

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No &
(2). If your answer to Question (c)(D is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes Q No Q

(4) Did you appeal from the denial of your motion, petition, or application?
Yes Q No Q

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
Yes Q No Q

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court's opinion or order, if available):

 
 

“The Ayl Stitedcen py

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page 7of17 PagelD 10

Page 8

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

GROUND THREE: 3°44

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):
The CAStiHadven DB wes lece ted ct (fei Secgev tie lew) prevented My Cres,
* te. Ching The SSECATEA PA terme te prevent

ty See Ter “2

 

Convie tien
- ye atinyp Bredy reetersal Per tenn
evento d rne hem Pie Serr fe 7 <7 4 feb ”
eS dy yet ye SS by my Lag osS of perience En of Se The
jo rey Case * ~
oy

Proseg etiee -

(b) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes Q No
(2) If you did not raise this issue in your direct appeal, explain why:
evireenl'e€ fee rently Se. Ll eed ca Pre Wing Copmm é -2 es med €
Nt PE Ceceorge A 5.4 Neve” Posse d Cr to SLE jOs, of the
Vv fe et wie é
(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No a
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

Date of the court’s decision:
 

Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page8of17 PagelD 11

Page 9

@ Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive a hearing on your motion, petition, or application?
Yes Q NoQ

(4) Did you appeal from the denial of your motion, petition, or application?
Yes Q No Q

(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
YesQ NoQ

(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number (if you know):
Date of the court’s decision:
Result (attach a copy of the court’s opinion or order, if available):

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

@ raise this issue:

GROUND FOUR: ob.
ergnth omedment yrela hich

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim. ):
wt fre casSditihicn Fo bes lecete d et G aif ¢ .

 
  

 

  
 

oe chorea Keds we Hx
dot Fentress tire oper LA fw es bien. teberee m x"
Allot pe,
CXOESE VE EMe nt of frmre thet peer PASH beget tees |
eer~s me Frem Keertvirg the Peer Mmedveel and PSyCh olor rect
cave Wecded te Weed Piedy can net eecceve Mt AS Ome CeeKiy
6nd Meily mente! health core thet Devters stoted Been Orr F ne,
CY LE (nV est tien reer dy |
Placiy ME Bhound neve Gre SeKotfenders When Th Con Test
© ia WE 5 epbing Koy ree J
Diessre sea with PES a senerahieed aenke eb AiSuarder and meyer
PEPE £5, Ce ger shee 34 yes poe Kerd fKecieved
bi = wecitly treatment ae ten ¢ tae f early Prectrreadh Kow
3 A. North © Lt 6 En? there jay Peg Er 1A fee is vel
lca anh, A353

 
 

Case 3:16-cv-02936-N-BK Document3 Filed 10/14/16 Page9of17 PagelD 12

Page 10

(b) Direct Appeal of Ground Four:
(1) If you appealed from the Judgment of conviction, did you raise this issue?
Yes Q No QO

(2) If you did not raise this issue in your direct appeal, explain why: . chs
CVPPENCE ISS JOSH Woda tead Peroviey tenth de Stopem<ert

mrode.

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes Q No &
(2) If your answer to Question (c)(1) is “Yes,” state:
Type of motion or petition:

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

(3) Did you receive.a hearing on your motion, petition, or application?
YesQ NoQ
(4) Did you appeal from the denial of your motion, petition, or application?
Yes Q NoQ
(5) If your answer to Question (c)(4) is “Yes,” did you raise this issue in the appeal?
— YesQ Noo |
(6) If your answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

Docket or case number Gf you know):
Date of the court’s decision:

Result (attach a copy of the court’s opinion or order, if available):

 
 

Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page 10 of 17 PagelD 13

13.

14,

15.

Page 11

(7) If your answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or

raise this issue:

Is there any ground in this motion that you have not previously presented in some federal court?
If so, which ground or grounds have not been presented, and state your reasons for not

presenting them:

he

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court
for the judgment you are challenging? YesQ No

‘If “Yes,” state the name and location of the court, the docket or case number, the type of

proceeding, and the issues raised.

Give the name and address, if known, of each attorney who represented you in the following
stages of the judgment you are challenging:

(a) At preliminary hearing:
JER EM. NG ohei ‘en
ferst 656 Stend F pa

(b) At arraignment and plea: nerdrera Acsdried off be
a Ss Sotben St € Sey Cte G2
(c) At trial: A\/A Do lCSS, te BPodrdeK

(d) At sentencing:

 
 

16.

17.

 

Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page11of17 PagelD 14

Page 12

(e) On appeal: N / Al
(f) In any post-conviction proceeding: N / A

(g) On appeal from any ruling against you in a post-conviction proceeding:

[WA

Were you sentenced on more than one count of an indictment, or on more than one indictment, in
the same court and at the same time? Yes Q No d/

Do you have any future sentence to serve after you complete the sentence for the judgment that
you are challenging? Yes QO No

(a) If so, give name and location of court that imposed the other sentence you will serve in the

future:

(b) Give the date the other sentence was imposed:

(c) Give the length of the other sentence:

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the
judgment or sentence to be served in the future? Yes Q No Q

 
 

«

. Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page12o0f17 PagelD 15

Page 13
@ 18. TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you
must explain why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not

bar your motion .*

Wr

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA”) as contained in 28 U.S.C.
§ 2255, paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period
shall run from the latest of —
(1) the date on which the Judgment of conviction became final,
(2) the date on which the impediment to making a motion created by governmental action in
violation of the Constitution or laws of the United States is removed, if the movant was
prevented from making such a motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if
that right has been newly recognized by the Supreme Court and made retroactively
applicable to cases on collateral review: or
(4) the date on which the facts supporting the claim or claims presented could have been
discovered through the exercise of due diligence.

 
 

Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page 13 of 17 PagelD 16

Page 14

@ Therefore, movant asks that the Court grant the following relief: .
vel burngine P Convictitn aad Prag. eV APES

v A "Sef Convretien Geriy fot ie  Perereete dt

tours ff Cleve s

or any other relief to which movant may be entitled.

 

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct
and that this Motion under 28 U.S.C. § 2255 was placed in the prison mailing system on

(month, date, year).
ap ellie

Executed (signed) on _¢¢ ty ber 4, poll (date).
Signature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not

signing this motion.

 
 

Fa PteAcng Document erie, $ fe)

Case 3:16-cv-02936-N-BK Document 3 Filed 10/14/16 Page 140f17 PagelD 17

moe RS ee ee aes Le SS HSS

a

co TAKS pox

)

 

jOS a comic.

ry Vv.

3. Consistent with the changes in the factual
at

rec TAK
resume. Bordo

wo

ined ste

(a

h

> the primary possessor of the comic book was "Jimmie Davis,"
> Claims that, in addition
> book

that the guard found in Borgos' mesh bag, Davis is the
the group of inmates at Seagoville that are in to that
> Borgos claims that Davis distributes the comic books and has a part in
creating them. Moreover, Borgos Says that Davis likes to brag about how he
> (Davis) has hands-on victims (our term, not his) to include victims

> that
Davis molested while he (Davis) was in the military.
convey to Y'al that, if a guard was to go through Davis' textbook for his
vocational training class, and did so aS a surprise, then Davis would more
likely that not have some form of child exploitation material, such as a comic
Or novel, hidden in the pages of the textbook. However, Borgos also asked me
to plead with Y'all not to do anything in a manner that would reveal to Davis
that Borgos had informed on him. Borgos advises that he is afraid of Davis

and that threats from Davis played a part in Borgos agreeing to keep the comic
book in his mesh bag.
>

> I checked the BoP websit
> that

is doing time at Seagoville. He has an estimated release date of December 7,
2021. Per PACER, there are about a dozen people named "Jimmie Davis"
with federal, criminal cases. However, only one of them has a CP case.

"Jimmie D. Davis" has a case out of the NDOH, wherein he plead guilty to cP

possession in 2012 and got a 140 month sentence.
>

> Because of the informatio
Borgos sign the cooperator'

Borgos also
to being the primary possessor of the comic

middleman of sorts for
Sort of thing.

Borgos asked me to

e and there is an inmate named Jimmie Davis

n that Borgos has offered as to Davis, I had
S$ version of the plea agreement supplement.

>

> Please advise as to whether I should send you the signed documents

> as-is

or rather wait until I can have Borgos resign the incorrectly redacted factual
resume

Regards,

John M. Nicholson

Assistant Federal Public Defender
525 Griffin St., Suite 629
Dallas, TX 75202

tel (214) 767 2746

fax (214) 767 2886

VVVVVVV VV
Case

“posers
<2

[SN ©
L

 

 

So Prert ns Ceca nerf eK: “ee (2)

Bi n-c i pegse-t ‘h; BK, Document b, ited LtoAaie. Pageds of 17 PagelD 18

 

f Soa, :
. YL. Ae Ce Ls AN JH : ' frag = at Abe
fen ee 8 4 law eget self oe Ay Rd
J
a D. ieee +— Ch vo idea _. oe 3 er nnn ee enn ek
A KM fo ‘ “ \ \ ~
A ee 44 ete fe Phineas Saee Tord Ce Se. f
; ;

\ T. r iF ~
vivid >} The, Bods taf nw Od) io thin Siaie

 

 

 

 

 

\ [~" a5
L Sealey Ane = ~ eet. Ns ly Same? FR Wiz

 

 

ye Anne Mer Wn ALY. Se ew ae 4 +; vos. | oa!

 

 

 

We. have, ees etd, es cho, aa A) 6 Lk

 

oN A »

- Vn Op du Ce

 

 

 

Je TR eye
aot Cow\. Ce Ww

(te i co uksna je
lcs un li he (ge? iu, A

 

i Was beAnds AL Dee, Os Hk.

hen \ Censi4 brad Ass

 

oie G =} v Ap.

 

ro ChY2 Al.

 

 

 

a Choke tel i tee ee PEsenps. * how :
/ ] .

 

 

TY A a te
yi

OMa Ce a 1

 

a

| non tn ihe A__& nts ee

 

LZ

 

 

 

V7

 

 

 

 

YO [\ Win |S pA tg
Ndi / ok The

hete< ele bedag

aber,

 

 

 

a tS

if. ths oMer Sih while a M30 ete.
+e SDs Ez b (Pe.

 

asse$. Oey eae.

 

‘AT

Bea Sy ae SAO
Mase heed Vena | We \Ne 3B On

\
A SMe.

 

spt ahc,/| Into _¢ C Ufa ar SO.

 

 

 

AZ
oe i
4

 

iy a =| 5 ne? i

 

—¥ 2 A
liyo

x a : A
) Corn \e { ee ped  Vieseesitn WY, on!

 

 

 

 

 

mm
pan, Cece yi 6 \S-4

 

4
oe
\
ee ‘\
eden ATIF 9

nz mf ae
}

 

) . 7 ~
Ws 4 Ge syeain is [D-av m, (ms

!
Ce &. 1. cya Ci. Cr oN - een grin a A Ore i

~s

» A\ ect fr Qe 51610 bow WV clo nn ee

i
i

 

 
Si Cert ing decd ett €x. $74 CeS

 

 

 

 

 

~. A i _
2c Y)
2 i tste

 

 

 

 

 

 

 

 

1 x
. =~ - { Sg e%
Le a sai" Net Mefep MALIMA SS fa baring Ke
- HY ft L 24 : 7
. / Se N i \, f 4 An’ : "ey fa oe Mh a al me bs
= ah ve Ge oN Vd Aa eritorn seen, SY Saheset
° a a i

 

 

 

 

 

 

 

 

| > - A { . LO ae ON N i
ie LD vd Shela (4 Ve Come. 9!) fr ani
. - nt t . i. f \ ‘ j
> a LL OMe. pie Lhe ceatreoth, leo

Gee ‘

L506a | to Jn oA § iA \A} de Vee. Comat “ th As )
4 v mp . } & ‘

Lou ue wer the Ab

| ,

= ih pn \ i ‘ Mw chee 5, + " ch i
~ hacul i Loh, Ve Omi o£, Ti |b tin AR CX Ibe Yy 2.
\ we = i ;

 

 

 

 

 

 

 

 

 

 

 

q

Aen ALi a AAD rp Sal | pod
“1 Wear sp A
ILO, Ne AY VEAL Meo bee | dey Daler lf eal
C

 

 

+ ~ Y
j i - . oft
2 oth ALE AA 5 j Ye! / G8 ERY 0 ©

 

 

 

 

af
nem 5 mt
WO Sere. SONI

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
BK Document 3 Filed 10/14/16 Page17of17 PagelD 20

N

16-cv-02936-

Case 3

65484-0544
Danny Borgos a
BO BOX 7007 watizm
FCI Marianna 4@=Fraeah.
Marianna, FL 32446
United States

 

 

a | chen us os
cnet s NORTHERN DISTAIG

 

poor less
Dcltes, texek Psa ttr

Lesa |

 
